 Case 2:01-cr-80361-GCS ECF No. 282, PageID.1324 Filed 04/02/14 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                           Case No. 01-80361
                                                   HON. GEORGE CARAM STEEH
vs.

FREDERICK LAMARR MCCLOUD,

           Defendant.
_______________________________/

                       ORDER DENYING DEFENDANT’S MOTION
                      FOR NUNC PRO TUNC ORDER (DOC. # 280)

       Before the court is defendant McCloud’s motion for a nunc pro tunc order

correcting his sentence. McCloud protests two aspects of his August 16, 2006

resentence. First, McCloud claims this court did not properly merge his sentences for

brandishing a firearm and using a destructive device in furtherance of a crime of

violence. Second, McCloud claims this court did not address his request for a reduced

sentence for accepting responsibility for his offenses under U.S.S.G. § 3E1.1. For the

reasons set forth below, McCloud’s motion shall be DENIED.

       As an initial matter, 28 U.S.C. § 2255 provides the means by which McCloud

may seek a correction to his sentence. Habeas corpus is not available to him unless

the statutory remedy is inadequate or ineffective to test the legality of his detention. 28

U.S.C. § 2255(e). McCloud provides no evidence of inadequacy or ineffectiveness and

the court finds none. Because McCloud’s motion is properly construed as a § 2255

motion, the limitation period for filing the motion applies, and that limitation period


                                             -1-
 Case 2:01-cr-80361-GCS ECF No. 282, PageID.1325 Filed 04/02/14 Page 2 of 3




expired long before the present motion was filed. 28 U.S.C. § 2255(f)(1). As such,

McCloud’s motion is time barred, and the court need not provide him the opportunity to

withdraw or amend his motion.

       Even if the court were to consider his specific claims, McCloud’s claim of

improper merging is precluded in this proceeding, as it was heard on appeal from his

2006 resentencing and denied on plain error review. See DuPont v. United States, 76

F.3d 108, 110 (6th Cir. 1996); United States v. Brown, 62 F.3d 1418 (6th Cir. 1995),

cert. denied, 516 U.S. 942, 116 S.Ct. 377, 133 L.Ed.2d 301 (1995); Warren v. United

States, 1994 WL 486625 (6th Cir. 1994). Likewise, McCloud’s claim that the court

ignored his August 16, 2006 request for a reduced sentence for accepting responsibility

is waived in this proceeding, as it was not raised on appeal from his 2006 resentencing.

See United States v. LaFond, 900 F.2d 260 (6th Cir. 1990); United States v. McGee,

CR. 05-CR-81042-DT, 2007 WL 1266385 (E.D. Mich. Apr. 30, 2007).

       Finally, McCloud offers no evidentiary support for his claims and the record

indicates they are without merit. McCloud’s explanation for why his sentences were

improperly merged is largely incomprehensible, and as stated before, the Court of

Appeals affirmed this court’s 2006 resentencing on review. In addition, McCloud offers

no proof that he argued for a reduction of sentence under U.S.S.G. § 3E1.1, or that the

court failed to consider whether he qualified. Regardless, McCloud’s harassment of

prosecutors and other obstreperous conduct prior to his 2006 resentencing certainly

provided a sufficient basis for finding he had not accepted responsibility for his offenses.

See U.S.S.G. § 3E1.1, Application Notes 4 & 5.



                                            -2-
 Case 2:01-cr-80361-GCS ECF No. 282, PageID.1326 Filed 04/02/14 Page 3 of 3




      For the above reasons, McCloud’s motion is hereby DENIED.

      IT IS SO ORDERED.

Dated: April 2, 2014
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                   April 2, 2014, by electronic and/or ordinary mail and also on
                    Frederick LaMarr McCloud #29459-039, FCI Fort Worth,
                         Federal Correctional Institution, P. O. Box 15330,
                                      Fort Worth, TX 76119.

                                        s/Barbara Radke
                                          Deputy Clerk




                                               -3-
